* Motion for rehearing denied, with $25 costs, on May 4, 1944. *Page 460 
Action commenced October 1, 1941, by Charles Linker, plaintiff, against Batavian National Bank of La Crosse, defendant. Charles Linker died March 6, 1943, and the action was revived in the name of his widow, Leona Linker, as administratrix. Two causes of action are alleged.  The material allegations in the first cause of action are as follows:
"That the plaintiff at the times hereinafter mentioned was and still is the owner and entitled to the possession of five hundred forty-nine (549) shares of the capital stock of the Linker Realty Company, a Wisconsin corporation, having its office and principal place of business in the said city of La Crosse.
"That prior to the 2d day of July, 1936, the plaintiff executed and delivered to the defendant his promissory note for nineteen thousand five hundred and no/100 dollars ($19,500) *Page 461 
with interest thereon, and that at the same time, plaintiff delivered to the defendant as security therefor the aforesaid five hundred forty-nine (549) shares of the capital stock of the Linker Realty Company under an agreement that same should be redelivered to the plaintiff on his paying the defendant the amount of said note with interest as aforesaid.
"That on the said 2d day of July, 1936, as plaintiff is informed and verily believes, the defendant, contrary to the terms of the aforesaid agreement and without the consent of the plaintiff and notwithstanding that there was tendered to the defendant the amount of such promissory note with interest, pretended to sell said securities at auction, and did in fact unlawfully convert the same to its own use and now claims to be the owner and holder thereof."
It is further alleged that at the time of said conversion said securities were reasonably worth the sum of $50,000, and that plaintiff has been deprived of the value thereof and emoluments therefrom, to his damage in the sum of $50,000.
In the second cause of action it is alleged that on or about the 19th day of July, 1929, plaintiff was the owner of said five hundred forty-nine shares of the capital' stock of the Linker Realty Company; that he was the secretary of said corporation and as such had the management and control of the business, property, and affairs of said corporation, and was possessed of an annual income therefrom in many thousands of dollars, and enjoyed the respect and confidence of the people of the city of La Crosse and vicinity, and enjoyed the social and financial prestige commensurate with the power and influence of his high financial and social standing in said locality.  It is further alleged that said Linker Realty Company owned and possessed the Linker office building and other properties of a value in excess of $600,000 and was indebted to the defendant for moneys loaned to it by said defendant in sums relatively small in comparison to the vast holdings of property of said corporation; that defendant by diverse and sundry representations and pretexts procured the possession of plaintiff's stock and procured his signature to notes and pretended obligations of the plaintiff, in that defendant falsely and fraudulently stated *Page 462 
to the plaintiff that he would deposit all stock with defendant, and the affixation of his signature to such notes and obligations was for the purpose of an accommodation to said defendant and to assist defendant in the financing of obligations of said Linker Realty Company, and that said defendant intended to return said securities to the plaintiff at the expiration of five years from date thereof, and that any and all notes and obligations in form that of the plaintiff would be canceled and surrendered to the plaintiff and reinstated as obligations of said Linker Realty Company; whereas, in truth and in fact, the purpose of said defendant in obtaining possession of said securities was to deprive plaintiff of the ownership thereof, and to oust plaintiff from the management and control of said Linker Realty Company and obtain control of said company and its assets and the ownership of said stock and securities by said defendant for its own use; that said defendant did not then and there intend to return said securities and cancel and surrender said notes to the plaintiff at the expiration of said five years, and said defendant did not in fact at any time thereafter restore possession thereof to plaintiff.
It is further alleged that plaintiff relied upon the truth of said representations and statements and signed said notes and pretended obligations and delivered possession of said shares of stock, and same were placed among the assets of said bank; that defendant has ever since held same and has procured judgments to be rendered thereon against plaintiff and his property seized and sold; that plaintiff suffered and sustained great loss of property, and his social and financial standing in the community has been lost and destroyed; that he has been reduced to poverty and want by the defendant, notwithstanding that plaintiff never borrowed or obtained any money whatsoever of the defendant for his own use or enjoyment; that defendant has caused the plaintiff to be ousted as secretary and as an officer of said Linker Realty Company, all to plaintiff's damage in the sum of $50,000.  The prayer is for judgment against defendant in the sum of $100,000 damages. *Page 463 
The stock alleged in both causes of action to have been converted was pledged to the bank by Charles Linker as collateral security to his note in the sum of $19,500.  Upon maturity of the note and in default of payment the bank sold the stock for the sum of $1 to its attorney who purchased same for and in behalf of the defendant bank.
Plaintiff alleges that a tender was made in his behalf to the bank of the amount due on his note prior to July 2, 1936, date of sale of the collateral.  Defendant denies the alleged tender to redeem the collateral, denies that it unlawfully converted any of said collateral, and alleges that the stock of the Linker Realty Company had no value, that said company was insolvent for a long time prior to July 2, 1936.
On April 28, 1942, the circuit court for La Crosse county entered an order of reference and appointed Z. S. Rice of Sparta, Wisconsin, as referee to hear, try, and determine all issues of fact.  On June 5, 1942, the referee made his report to the court containing his findings of fact, certain conclusions of law, also a memorandum opinion on the merits of the case. The material findings of the referee are in substance as, follows:
That defendant bank was authorized to sell plaintiff's stock in the Linker Realty Company held as collateral; that the notice of sale of said stock was sufficient; that it was mailed on June 26, 1936, and received by plaintiff in due course of mail; that after receipt of said notice of sale plaintiff conferred with Thomas Woolley about redeeming the collateral and paying the bank the amount due on his note; that Woolley called at defendant bank on or before July 1, 1936, and offered to the president of defendant bank to redeem plaintiff's collateral consisting of the five hundred forty-nine shares of stock in the Linker Realty Company and a note to plaintiff from the Linker Realty Company in the sum of $19,500; that defendant bank and its president refused Woolley's offer made in behalf of plaintiff; that on July 2, 1936, the total value of the *Page 464 
assets of the Linker Realty Company was $414,500; that the total of the secured and unsecured debts of the Linker Realty Company on said date was $447,000; that the value of the five hundred forty-nine shares of the Linker Realty Company stock on July 2, 1936, was $19,792.50; that the defendant bank owns and holds a judgment against the plaintiff, entered in the circuit court for La Crosse county, upon a note for $19,500, upon which note and judgment there have been credits in the sum of. $1,951, leaving a principal balance of $17,549.
The referee further found that there was no evidence of any damages sustained by plaintiff under the second cause of action.  All findings of fact made by the referee were affirmed by the court.  The conclusions of law made by the referee, which were also affirmed by the court, are as follows:
"(1) That defendant's sale of the plaintiff's stock, which it held as collateral, was invalid, and that defendant did convert the said stock.
"(2) That the plaintiff, Charles Linker, sustained damages by reason of defendant's said conversion in the sum of $19,792.50.  That there is an offset by defendant's judgment against plaintiff, as of approximately the same date, in the sum of $17,549.  That plaintiff's net damages are $2,243, for which sum he shall have judgment.
"(3) That plaintiff's second cause of action should be dismissed."
On the filing of the referee's report, plaintiff and defendant each moved for certain changes and amendments.  On January 4, 1943, judgment was rendered in favor of the plaintiff against defendant in the sum of $2,420.41.  The plaintiff appeals from said judgment and defendant has filed a motion to review.  Further material facts will be stated in the opinion.
It appears without dispute that defendant bank had the five hundred forty-nine shares of the capital stock of the Linker Realty Company in its possession as collateral at all times since July 19, 1929.  It further appears without dispute that on April 6, 1936, Charles Linker executed and delivered to defendant bank his promissory note for $19,500, with interest payable sixty days after date, which was a renewal of former notes which had been renewed from time to time over a period of years; that on renewal of the note, on April 6, 1936, Charles Linker pledged as security for the payment of said note the five hundred forty-nine shares of the capital stock of the Linker Realty Company mentioned in the foregoing statement; also pledged as collateral security for the payment of said note a note of the Linker Realty Company to his order for $19,500, dated December 6, 1930.  The note of April 6, 1936, contains the following provision:
"The makers hereof and the indorsers hereon, waive demand of payment, notice and protest; and surrender as collateral security Note Linker Realty 19500.  549 Sh. Linker Realty with authority to sell the same on the nonperformance of this promise, in such manner as said bank may deem proper, at public or private sale, and apply the proceeds hereon."
On June 26, 1936, defendant bank wrote Mr. Charles Linker as follows:
"Dear Sir:
"Your note for $19,500 payable to this bank, being past due and payment having been demanded and not forthcoming, we hereby notify you, that the collateral securing these notes will be offered for sale at the office of the bank at the desk of cashier, A.J. Capellen, on Tuesday, July 2d 1936, at 10 o'clock a.m."
It is claimed by plaintiff that on the second day after receipt of the above letter Charles Linker conferred with Mr. Thomas Woolley of the city of La Crosse with reference to the subject matter of the letter and taking over his note at the bank and the collateral which the bank held as security for the payment *Page 466 
of its note.  It appears without dispute that Mr. Woolley did go to the defendant bank and had a conference with Mr. Klein, the president of the bank, with reference to the Charles Linker note and the collateral thereto.  There is a sharp conflict in the evidence as to the time when Woolley conferred with Mr. Klein.  With reference to this conference, Mr. Woolley testified:
"Sometime in June or July, I don't just know what month or day it was now, Charlie Linker came into my office and as a result of our conversation I went over to the bank the next morning.  I went to Mr. Klein and I said, `I understand you have a note here against the Linker Realty Company for $19,500, and no doubt there is some accrued interest and you have Charlie Linker's stock for fifty or fifty-five thousand,' I forget just which he said it was, `you figure up the interest and I will give you a check for the note and take the note and stock.'  He said he couldn't do that because the stock was sold. I said, `Well, if the bank gets the money they ought to be satisfied.'  He said the stock had been sold to Capellen and that Capellen had transferred it back to the bank.  I have never been interested in the Linker Realty Company, but I did tell Mr. Klein that I was there at the instance of Mr. Linker; I was anxious to pay for that stock and take that note to Mr. Linker, who was in my office."
Mr. Klein testified that he is the president of the defendant bank, had been such since 1934; that on July 2, 1936, he sold the collateral consisting of the five hundred forty-nine shares of the Linker Realty Company stock for the sum of $1 and the note of the Linker Realty Company in the sum of $19,500 for the sum of $1,950, and credited Charles Linker's note with the proceeds of the sale of the collateral in the sum of, $1,951; that said collateral was sold at private sale at the desk of the cashier of the bank to the bank's attorney for the bank.  As to his conversation with Mr. Woolley, Mr. Klein testified:
"Tom Woolley did come in to talk with me, but he did not offer to pay up that note.  I think it was sometime in September, quite a long time after the stock was sold that Tom *Page 467 
Woolley came in, and I told him that the stock had already been sold.  He said `Charlie is too late.  He should have come to me long before.'"
He further testified:
"When Mr. Woolley came in and made the offer to give me a check for the principal and interest — and I am not ready to state he did make the offer — I told him he was too late, the stock had already been sold and the noteholders have already signed the agreement to an extension."
We cannot say that the finding that Mr. Woolley offered in plaintiff's behalf to redeem plaintiff's collateral, consisting of five hundred forty-nine shares of stock of the Linker Realty Company and a note to the plaintiff from the Linker Realty Company for $19,500, and that such offer was refused by the bank, is against the great weight and clear preponderance of the evidence.  It is conceded that the collateral was in the possession of the bank or in the possession of Mr. Klein as agent for the bank at the time of Mr. Woolley's offer.  It is further conceded that Mr. Woolley was financially responsible and that his check to the bank for the amount due was good.  The effect of Woolley's tender to the bank is stated in Restatement, Security, p. 115, sec. 37, as follows:
"(1) Performance or tender of performance to the proper person of the obligation secured by the pledge terminates the pledge and entitles the pledgor to the possession of the pledged chattel.
"(2) The tender of the amount of a debt or the tender of performance of any other obligation secured by a pledge does not discharge the debt or other obligation for which the pledge is security.
"(3) Refusal or failure of the pledgee to return the pledged chattel upon tender or performance is prima facie evidence of aconversion."
Under comment a it is stated:
". . . If the pledgee refuses performance, he should not thereby be able to compel the pledgor to continue the security *Page 468 
relationship.  The pledge is terminated and the pledgor is entitled to immediate possession of the chattel. . . ."
Under comment b it is stated:
"While a tender of payment of a debt secured by a pledge terminates the pledge, it does not discharge the debt.  To make tender equivalent to payment of a debt would punish the creditor and reward the debtor out of all proportion to the inconvenience suffered by the debtor from the creditor's refusal of the tender."
Even if there had been no tender in behalf of Charles Linker by Mr. Woolley, the sale of the collateral was voidable. While the bank had a right to sell the collateral it could not directly or indirectly become the purchaser of the collateral at such sale.  In Restatement, Security, p. 145, sec. 51, the rule is stated as follows:
"Purchase by pledgee.  (1) The pledgee, without the consent of the pledgor, does not have the privilege of purchasing the pledged chattel directly or indirectly at a public sale, except where the sale is under the control of a court of equity.
"(2) Where a pledgee purchases the pledged chattel at a public sale without the consent of the pledgor, except when the sale is under the control of a court of equity, the sale is voidable by the pledgor."
While the above text refers to a public sale, the same rule should apply with even greater strictness to a private sale as conducted in the instant case.
The rule is stated as follows in 41 Am. Jur. p. 649, sec. 90:
"There is little dissent from the proposition that a pledgee, by reason of his fiduciary relation to the pledgor with regard to the subject of the pledge, is incapacitated from becoming a bidder and purchasing the collateral held by him, at a sale thereof under his power, express or' implied in, law, so as to free the property from the pledge and secure absolute title as against the pledgor.  Statutes authorizing the pledgee to purchase the security have been adopted in some of the states. Under some statutes, a pledgee is authorized to purchase at his own sale when the property is' sold at public auction in accordance *Page 469 
with the manner in which such sales are required by law to be conducted."
The rule is similarly stated in 76 A.L.R. 705 under the annotation "Purchase by pledgee of subject of pledge."  See cases there cited.
The respondent contends that the collateral agreement authorized the pledgee bank to purchase at the sale.  This contention is based on the authority to sell as contained in the Charles Linker note of April 6, 1936, which provision is as follows:  To sell the collateral "in such manner as said bank may deem proper, at public or private sale, and apply the proceeds hereon."  We are not here concerned with the right of the bank to sell the collateral.  Clearly the bank had such right.  But there is no provision in the collateral note which authorizes the bank to become the purchaser of the collateral at a sale thereof unless such sale is under the control of a court of equity, or unless the pledgee is specifically authorized by the terms of the collateral note to purchase the collateral at a sale thereof.  See Frey v. Farmers  M. Bank (1935), 273 Mich. 284,262 N.W. 911.  We are of the view that the evidence sustains the conclusion that there was a wrongful conversion by defendant bank of the collateral pledged by Charles Linker as security for the payment of his note of April 6, 1936.
The plaintiff's first cause of action is grounded exclusively on the theory of a conversion of the five hundred forty-nine shares of stock of the Linker Realty Company.  The second cause of action is also grounded on a theory of the conversion of the five hundred forty-nine shares of stock of the Linker Realty Company, but this cause of action includes certain alleged fraudulent acts on the part of certain officers of defendant bank.  There is no finding nor is there any evidence to sustain a finding of any fraud on the part of any official or representative of the defendant bank in any of its transactions with Mr. Charles Linker or the Linker Realty Company.
Plaintiff's action is one solely for damages for the conversion of the stock of the Linker Realty Company.  We are *Page 470 
not here concerned with the note of the Linker Realty Company to the order of Charles Linker in the sum of $19,500, dated December 6, 1930, which was held by defendant bank as collateral to the note of Charles Linker, dated April 6, 1936. That collateral is not within the issues made by the pleadings.
We now reach the question of what damages, if any, were sustained by plaintiff by reason of the conversion of the Linker Realty Company stock.  The referee found that the total assets of the Linker Realty Company on July 2, 1936, were $414,500; that the total of the secured and unsecured debts was $447,000.  This means an actual insolvency of the Linker Realty Company to the extent of $32,500.  There is ample evidence to sustain this finding.  On any basis of financial calculation it means that the capital structure of the Linker Realty Company was wiped out; its capital stock had no value. The referee's finding that on said date the five hundred forty-nine shares had a value of $19,792.50 is, of course, inconsistent with the finding as to the value of the total assets and the total of the secured and unsecured debts of said Realty Company as of said date.
It appears that the referee placed the value of $19,792.50 on the five hundred forty-nine shares of Linker Realty Company stock, based on the offer Mr. Woolley had made to redeem Linker's note and collateral held by the bank.  In that connection, the referee said:
"The corporation was insolvent.  But Thomas Woolley's offer to redeem the stock fixes an unchallengeable value upon it.  It is the simplest and most convincing proof of value."
Had Mr. Woolley taken over Linker's obligation at the bank, Linker would be owing Woolley the amount due on his note instead of the bank.  It would not restore the Linker Realty Company to solvency, nor would it add anything to the value of the Linker Realty stock.  What may have moved Mr. Woolley to such generosity is not disclosed by the *Page 471 
evidence.  He did not testify as to the value of the stock.  In view of the referee's specific finding that the Linker Realty Company was insolvent, that the liabilities of the company exceeded its total assets to the extent of $32,500, the finding as to the value of the company's stock must be set aside.
The rule as to the measure of plaintiff's damages is stated as follows in Topzant v. Koshe, 242 Wis. 585, 588,9 N.W.2d 136:
"In the absence of exceptional circumstances in actions for the tortious taking or conversion of goods, the plaintiff is entitled to recover as damages:
"`First, the value of the chattels at the time, and place when and where the same should have been delivered, or of the wrongful taking or conversion, with interest on that sum to the date of trial;
"`Second, if it appears that the defendant, in case of a wrongful taking or conversion, has sold the chattels, the plaintiff may, at his election, recover as his damages the amount for which the same were sold, with interest from the time of the sale to the day of trial;
"`Third, if it appears that the chattels wrongfully taken or converted are still in the possession of the defendant at the time of the trial, the plaintiff may, at his election, recover the present value of the same at the place where the same were taken or converted, in the form, they were in when so taken or converted.'. . .
"`These rules will prevent the defendant from making profit out of his own wrong, will give the plaintiff the benefit of any advance in the price of the chattels when defendant holds possession of the same at the time of the trial, and on the whole will be much more equitable than the rule given by the court below.'"
In the instant case plaintiff claims damages for the value of the stock as of July 2, 1936.  We find no evidence to warrant an assessment of more than nominal damages—six cents.
It appears that on July 27, 1936, the defendant bank commenced an action in the circuit court for La Crosse county against Charles Linker to recover upon the promissory note of Linker, dated April 6, 1936, in which action judgment was *Page 472 
entered against Mr. Linker on the 21st day of November, 1936, for the sum of $17,549.  The respondent herein contends that that judgment is res adjudicata as to plaintiff in this action.  Linker did not defend that action and judgment was entered against him on default.  Linker might have answered and interposed a counterclaim in that action, based on the facts alleged in the instant action, but he was not obliged to do so.  In Nehring v. Niemerowicz, 226 Wis. 285, 291,276 N.W. 325, the court said:
"This case is within the familiar rule that, when a defendant has a counterclaim against the plaintiff that he might have interposed in the plaintiff's action against him, but did not, the fact that he might have litigated his counterclaim in that action does not prevent him from thereafter bringing an action upon it.  Even failure to appear and litigate a counterclaim where it is interposed, is a withdrawal of it, and judgment for the plaintiff does not bar prosecution of the counterclaim in a subsequent suit."  Citing cases.
In view of the conclusions reached, it will serve no purpose to discuss further questions presented in the briefs of counsel. Plaintiff is entitled to judgment against defendant for nominal damages — six cents.  On the respondent's motion to review, the judgment will be modified by reducing same to nominal damages.
By the Court. — Judgment modified as indicated in the opinion and, as modified, is affirmed.  Respondent to have costs.